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                                           U NI T E D S T A T E S DI S T RI C T C O U R T
                                             DI S T RI C T O F S O U T H D A K O T A
                                                    W E S T E R N DI VI SI O N


 U NI T E D S T A T E S O F A M E RI C A                                         5: 2 0 - C R-5 0 1 2 2
              Pl ai ntiff                                              N O TI C E O F A P P E A L R E M A GI S T R A T E
                      v.                                               M A GI S T R A T E D U F F Y’ S D E NI A L
                                                                       O F D E F E N D A N T ’S M O TI O N T O C O M P E L
 KI M B E R L E E PI T A W A N A K W A T                               D O C K E T N O.’s 2 5 1 A N D 2 4 7 T O DI S T RI C T
              D ef e n d a nt                                          C O U R T J U D G E PI E R S O L




                                E X HI BI T A




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 1                       IN THE UNITED STATES DISTRICT COURT

 2                                FOR THE DISTRICT OF OREGON

 3                                           Eugene Division

 4      U N I T E D S T A T E S O F A M E R I C A,              )

 5                         P l a i n t i f f,                   )

 6          vs.                                                 ) No. 6:20-mj-00243

 7      G E O R G E D U L L K N I F E,                          )

 8                                                              )

 9                         D e f e n d a n t.                   )

10

11

12

13

14

15

16                         BE IT REMEMBERED THAT on the 30th day of

17      S e p t e m b e r, 2 0 2 0, t h e a b o v e- e n t i t l e d m a t t e r c a m e o n f o r

18      h e a r i n g b e f o r e t h e H O N O R A B L E M U S T A F A K A S U B H A I, D i s t r i c t

19      M a g i s t r a t e J u d g e.

20

21                                   D E B O R A H C O O K, R P R , C S R

22                                d e b @ c o o k c o u r t r e p o r t i n g. c o m

23                                              503-537-0339

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 1

 2                                 A P P E A R A N C E S

 3            F o r t h e G o v e r n m e n t:

 4                                JOSEPH HUYNH
                                  A s s t. U S A t t o r n e y
 5                                4 0 5 E 8 t h S t r e e t, S t e . 2 4 0 0
                                  E u g e n e, O r e g o n 9 7 4 0 1
 6                                541.465.6671
                                  J o s e p h. h u y n h@ u s d o j. g o v
 7
              F o r t h e D e f e n d a n t:
 8
                                  KIMBERLY SEYMOUR
 9                                F e d e r a l P u b l i c D e f e n d e r s, E u g e n e
                                  8 5 9 W i l l a m e t t e S t r e e t, # 2 0 0
10                                Eugene Oregon 97401
                                  541.465.6937
11                                k i m b e r l y_ s e y m o u r@ f d . o r g

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 1

 2                                              PROCEEDINGS

 3                 W e d n e s d a y, S e p t e m b e r 3 0 , 2 0 2 0, a t 2 : 0 1 p . m .

 4

 5                    C O U R T C L E R K:      Now is the time set for magistrate

 6      case 20-243, United States of America versus George Dull

 7      K n i f e f o r d e t e n t i o n h e a r i n g.

 8                    T H E C O U R T:       G o o d a f t e r n o o n.   Who do I have on

 9      b e h a l f o f t h e g o v e r n m e n t t o d a y?

10                    M R . H U Y N H:       Y e s , Y o u r H o n o r, J o s e p h H u y n h o n

11      b e h a l f o f t h e U n i t e d S t a t e s.

12                    T H E C O U R T:       A n d M s . S e y m o u r, a r e y o u h e r e o n

13      b e h a l f o f M r . D u l l K n i f e?

14                    M S . S E Y M O U R:      Y e s , g o o d a f t e r n o o n, Y o u r H o n o r.   I

15      a m h e r e o n b e h a l f o f M r . D u l l K n i f e.

16                    T H E C O U R T:       And I understand that an initial

17      appearance has already taken place on Monday and today is

18      s e t f o r a d e t e n t i o n h e a r i n g.

19                    M r . H u y n h, a r e y o u s e e k i n g d e t e n t i o n?

20                    M R . H U Y N H:       Y e s , Y o u r H o n o r.    I have been in

21      c o n t a c t w i t h t h e p r o s e c u t o r i n t h i s c a s e i n S o u t h D a k o t a,

22      and it is her request that the government seek detention

23      in this case based on risk of flight and danger to the

24      c o m m u n i t y, a n d I s u p p o r t t h a t.        T h a t' s a l s o t h e

25      r e c o m m e n d a t i o n o f P r e t r i a l S e r v i c e s, t h a t h e b e d e t a i n e d,


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 1      a s w e l l.

 2                     T h e f a c t s o f t h i s c a s e, t h e C o u r t m a y h a v e a c o p y

 3      o f t h e i n d i c t m e n t, b u t s o t h e C o u r t i s a w a r e, t h i s c a s e

 4      i n v o l v es a s h o o t i n g o f a v e h i c l e.        The defendant is the

 5      alleged shooter who fired at a vehicle that had two

 6      o c c u p a n ts i n i t , w h o w e n t t o h i s h o m e.

 7                     He apparently followed them in the car, shot at

 8      t h e m, a n d t h e n p u s h e d t h e c a r o f f t h e t o p o f a h i l l a n d

 9      c o n t i n u e d t o f i r e a t t h e m.        He fired 15 shots into the

10      v e h i c l e, k n o c k i n g o u t t h e b a c k w i n d o w, a n d s u r p r i s i n g l y

11      o n l y i n j u r i n g o n e i n d i v i d u a l i n t h e h a n d, w h o g o t s h o t.

12                     But given the nature of that crime and the

13      c h a r g e s f o r w h i c h t h e r e' s a p r e s u m p t i o n u n d e r 9 2 4 C , w e

14      d o b e l i e v e h e ' s a d a n g e r t o t h e c o m m u n i t y.

15                     A d d i t i o n a l l y, h e a p p e a rs t o h a v e f l e d w i t h i n a

16      c o u p l e d a y s o f t h e i n c i d e n t, a n d a f t e r h a v i n g b e e n s p o k e n

17      t o b u y l a w e n f o r c e m e n t.       And came out here with a

18      c o - d e f e n d a n t, w h i c h a p p e a rs t o b e a n a t t e m p t t o e l u d e

19      p o t e n t i a l a r r e s t.

20                     S o g i v e n t h a t, Y o u r H o n o r, w e b e l i e v e d e t e n t i o n

21      i s w a r r a n t e d.

22                     T H E C O U R T:       M s . S e y m o u r.

23                     M S . S E Y M O U R:      T h a n k y o u , Y o u r H o n o r.   Y o u r H o n o r,

24      t h i s i s a r e m o v a l c a s e.         And Mr. Dull Knife is prepared

25      and willing to return to South Dakota to appear in Court


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 1      a t h i s n e x t h e a r i n g.

 2                     A n d v e r y s i g n i f i c a n t l y, s i n c e l e a r n i n g o f h i s

 3      a r r e s t, h i s t w o s i s t e rs h a v e d r i v e n f r o m S o u t h D a k o t a t o

 4      O r e g o n.   They are here in the area now and they are

 5      w i l l i n g, i f h e ' s r e l e a s e d, t o p i c k h i m u p a n d t r a n s p o r t

 6      h i m d i r e c t l y b a c k t o S o u t h D a k o t a.      They drove here

 7      without making any stops and would return to South Dakota

 8      d o i n g t h e s a m e, g o i n g d i r e c t l y b a c k, n o t m a k i n g a n y

 9      s t o p s.

10                     A n d f u r t h e r m o r e, h i s s i s t e r T e r a, h i s o l d e r

11      s i s t e r, w h o I b e l i e v e i s o n t h e l i n e, s h e h a s d i s c u s s e d

12      with me what it would look like if the Court were to

13      a p p o i n t h e r a s a t h i r d- p a r t y c u s t o d i a n.     And if she were

14      required to report to Pretrial Services if there were any

15      p r o b l e m s b e t w e e n O r e g o n a n d S o u t h D a k o t a, a n d f r o m n o w

16      u n t i l h i s n e x t C o u r t d a t e.

17                     A n d s h e u n d e r s t a n ds t h a t i n t h a t r o l e s h e ' d h a v e

18      the responsibility of reporting to the Court and doing

19      t h a t p r o m p t l y, e v e n i f i t m e a n s t h a t M r . D u l l K n i f e w o u l d

20      f a c e c o n s e q u e n c es o r g e t i n t r o u b l e.     She is ready and

21      w i l l i n g t o a c c e p t t h a t r e s p o n s i b i l i t y, a n d b e c a n d i d w i t h

22      t h e C o u r t.

23                     M r . D u l l K n i f e i s t h e f a t h e r o f a f o u r- m o n t h- o l d

24      c h i l d, a n d h a s a l s o b e e n a c t i v e l y i n v o l v e d i n r a i s i n g h i s

25      p a r t n e r' s o t h e r c h i l d r e n.   H e a n d h i s p a r t n e r, w h o i s t h e


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 1      c o - d e f e n d a n t, c a m e t o O r e g o n s e v e r a l w e e k s a g o , a n d h a v e

 2      b e e n l i v i n g w i t h h i s p a r t n e r' s f a m i l y h e r e.       His

 3      p a r t n e r' s m o t h e r i s i n p o o r h e a l t h.        She suffers from

 4      d e m e n t i a, a n d s h e n e e d e d s o m e a d d i t i o n a l a s s i s t a n c e f r o m

 5      t h e f a m i l y t o h e l p h e r m a n a g e t h e s e h e a l t h c o n d i t i o n s.

 6                     So to give the Court some context as to why

 7      M r . D u l l K n i f e h a d r e l o c a t e d f r o m S o u t h D a k o t a t o O r e g o n,

 8      h i s m o t h e r- i n - l a w ' s c o n d i t i o n w a s a s i g n i f i c a n t

 9      m o t i v a t i n g f a c t o r.   And the reason why their family came

10      o u t t h i s w a y , a n d t h a t' s w h e r e t h e y h a v e b e e n s t a y i n g,

11      n o t h i d i n g, n o t u n d e r t h e c o v e r o f n i g h t, b u t l i v i n g a s a

12      f a m i l y t o h e l p h i s m o t h e r- i n - l a w .

13                     T H E C O U R T:       W e r e t h e c h i l d r e n w i t h t h e m?

14                     M S . S E Y M O U R:      Yes.      Yes.      The children are living

15      w i t h t h e m i n O r e g o n.

16                     F u r t h e r m o r e, w e w o u l d p r o p o s e t h a t i n a d d i t i o n t o

17      M r . D u l l K n i f e' s s i s t e r d r i v i n g h i m b a c k t o S o u t h D a k o t a,

18      t h a t o n c e t h e r e, a n d p r i o r t o h i s n e x t C o u r t d a t e, h e

19      r e s i d e w i t h h i s m o t h e r, C o r a.        His mother is the mayor of

20      a s m a l l t o w n c a l l e d W a n b l e e.       This is on the Pine Ridge

21      R e s e r v a t i o n.

22                     T h e r e a r e o n l y a d u l ts l i v i n g i n t h e h o m e; s h e

23      l i v e s t h e r e, h e r s i s t e r a n d a n o t h e r a d u l t c h i l d.        There

24      a r e n o f i r e a r m s i n t h e h o m e.         They are a very traditional

25      f a m i l y w i t h n o t i m e f o r d r u g s o r a l c o h o l, a n d s o s h e d o e s


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 1      n o t p e r m i t a n y d r u g o r a l c o h o l u s e i n t h e h o m e, e i t h e r.

 2                     So this would be a very safe and stable place for

 3      M r . D u l l K n i f e t o r e s i d e u p o n h i s r e t u r n t o S o u t h D a k o t a.

 4      A n d s h e , h i s m o t h e r, i s a l s o e q u i p p e d t o d o i n g e v e r y t h i n g

 5      she can to make sure that he attends his Court date when

 6      r e q u i r e d u p o n h i s r e t u r n.

 7                     M r . D u l l K n i f e h a s a v e r y p o s i t i v e w o r k h i s t o r y,

 8      and among his most recent jobs he was working security at

 9      t h e R e s e r v a t i o n.   A n d b e c a u s e o f C o v i d, t h e y h a v e

10      c h e c k p o i n ts a n d o t h e r s t o p s w h i l e t h e R e s e r v a t i o n i s o n

11      l o c k d o w n, s o h e w a s t r u s t e d t o w o r k t h e c h e c k p o i n ts a n d

12      ensure the safety of his community by screening

13      i n d i v i d u a l s c o m i n g t o o r l e a v i n g t h e R e s e r v a t i o n, a b o u t

14      w h e t h e r t h e y w e r e e x h i b i t i n g a n y s y m p t o m s.

15                     He is also valued in the community for his work

16      cutting wood and providing lumber to individuals in the

17      c o m m u n i t y.   Mr. Dull Knife is from probably one of the

18      p o o r e s t c o m m u n i t i e s i n t h e U n i t e d S t a t e s, v e r y, v e r y

19      p o o r, v e r y h i g h s u i c i d e r a t e s, v e r y h i g h r a t e o f d r u g u s e

20      a n d a b u s e a n d a d d i c t i o n.     But he has done positive and

21      p r o d u c t i v e t h i n g s t h e r e t o s u p p o r t h i s c o m m u n i t y.

22                     H i s f a m i l y, e s p e c i a l l y h i s m o t h e r, i s a l e a d e r i n

23      t h e c o m m u n i t y, a n d w e b e l i e v e t h a t h e r h o m e w o u l d b e a

24      very appropriate place for him to reside on the strictest

25      c o n d i t i o n s a v a i l a b l e, o n a c o n d i t i o n o f h o m e c o n f i n e m e n t.


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 1      A n d w i t h h i s s i s t e rs , w h o d r o v e i m m e d i a t e l y a n d

 2      throughout the night to Oregon in order to be available

 3      to transport him, and their willingness to report to the

 4      C o u r t i f t h e r e' s a n y p r o b l e m s w i t h M r . D u l l K n i f e g e t t i n g

 5      b a c k t o S o u t h D a k o t a a c c o r d i n g t o t h e C o u r t' s c o n d i t i o n s.

 6                       I think the Court can be assured that he would

 7      m a k e i t t o h i s n e x t C o u r t d a t e, a n d t h a t w i t h t h e s e

 8      conditions in place he would not pose a danger to the

 9      c o m m u n i t y.

10                       T H E C O U R T:     O f f i c e r S t r a n i e r i, a q u e s t i o n.   The

11      report involving the co-defendant had recommended

12      r e l e a s e.       Was there a difference in your understanding of

13      t h e n a t u r e o f t h e c o - d e f e n d a n t' s c o n d u c t d u r i n g t h e

14      c o m m i s s i o n o f t h e a l l e g e d o f f e n s e s, o r w a s t h e r e

15      something else that suggested to you that there would be

16      a combination -- conditions or combinations of conditions

17      t h a t w o u l d w a r r a n t t h e r e l e a s e o f M r . D u l l K n i f e' s

18      c o - d e f e n d a n t?

19                       P R O B A T I O N O F F I C E R:    Yes.      T h a n k y o u , Y o u r H o n o r.

20                       M r . D u l l K n i f e' s c o - d e f e n d a n t i s n o t c h a r g e d w i t h

21      t h e w e a p o ns o r t h e a t t e m p t e d a s s a u l t.          She's charged with

22      a c c e s s o r y a f t e r t h e f a c t a n d f a l s e s t a t e m e n t s.

23                       T H E C O U R T:     O k a y.      A l l r i g h t.   M r . S w e e t, a n y

24      additional context that you would like to provide to me

25      to help me understand the distinction between the two?


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 1                    M R . H U Y N H:   Yes.      I t ' s M r . H u y n h.     I a p o l o g i z e, I

 2   d i d n' t a n n o u n c e m y s e l f.

 3                    B u t a c o u p l e o f t h i n g s, b o t h c o n t e x t f o r t h e

 4   i n d i v i d u a l i n v o l v e d f o r t h e o f f e n s e, M r . S t r a n i e r i i s

 5   correct that -- or Officer Stranieri is correct that the

 6   d e f e n d a n t, M r . D u l l K n i f e, i s c h a r g e d w i t h t h e 9 2 4

 7   d i s c h a r g e, a s w e l l a s t h e a s s a u l t w i t h t h e i n t e n t t o

 8   c o m m i t m u r d e r a n d a s s a u l t w i t h d a n g e r o u s w e a p o n, w h i c h

 9   h i s c o - d e f e n d a n t, w h o I b e l i e v e i s h i s g i r l f r i e n d, i s

10   not.

11                    A n d t h e r e i s a l s o a s i g n i f i c a n t d i s t i n c t i o n, I

12   t h i n k y o u w i l l h e a r, a l t h o u g h t h e g o v e r n m e n t w i l l b e

13   r e q u e s t i n g d e t e n t i o n a s w e l l.    But she has a

14   f o u r- m o n t h- o l d c h i l d t h a t s h e i s a l s o n u r s i n g, s o I t h i n k

15   t h a t' s a s i g n i f i c a n t d i s t i n c t i o n b e t w e e n t h e t w o o f t h e m,

16   both in terms of their situation and the role in the

17   o f f e n s e.

18                    B u t w i t h r e s p e c t t o t h e c o n t e x t, w e h e a r d a l o t

19   a b o u t M r . D u l l K n i f e' s f a m i l y a n d s u p p o r t.      But just so

20   Y o u r H o n o r i s - - b a s e d o n w h a t I u n d e r s t a n d, t h i s i s n o t

21   a c a s e w h e r e t h e r e w a s a b u n c h o f a r g u m e n t s, c r o s s f i r e,

22   t h e r e w a s a h e a t e d d e b a t e.

23                    M y u n d e r s t a n d i n g i s t h e v i c t i ms w e n t t o M r . D u l l

24   K n i f e' s h o u s e t o p i c k u p a c h i l d, a n d t h e m o t h e r o f t h a t

25   c h i l d, t h e v i c t i m w a s w i t h h i s m o t h e r i n t h e v e h i c l e.


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 1   T h e y l e f t b e c a u s e t h e y w e r e t o l d t h a t t h e p e r s o n, t h e

 2   m o t h e r o f t h e c h i l d, w a s n o t r e a d y t o l e a v e a n d t o c o m e

 3   b a c k i n a n h o u r, w h i c h t h e y w e r e d o i n g.

 4                  T h e n t h e d e f e n d a n t, i n a n o t h e r v e h i c l e, h e w a s

 5   n o t i n t h e h o u s e a t t h e t i m e, c h a s e d t h e m i n h i s v e h i c l e

 6   a n d f i r e d m a n y r o u n d s.    A s t h e y g o t c l o s e t o t h e h i g h w a y,

 7   he pushed them up into another location to fire even more

 8   r o u n d s.

 9                  T h e m o t h e r, w h o w a s i n t h e v e h i c l e, t a l k s

10   a b o u t - - a n d s h e ' s t h e o n e w h o h a d h e r h a n d s h o t, Y o u r

11   H o n o r.     S h e t a l k s a b o u t a b u l l e t w h i z z i n g b y h e r h e a d.

12   N o t h i n g t h a t t h e d e f e n s e c o u n s e l h a s s a i d a b o u t h i s t i e s,

13   about how he's perceived in the community changes the

14   fact that but for the grace of God, he could be facing

15   n o t j u s t a s s a u l t w i t h t h e i n t e n t t o c o m m i t m u r d e r, b u t

16   t w o c o u n t s o f m u r d e r, Y o u r H o n o r.     And this callous and

17   w a n t o n, a n d t h i s i s n o t s o m e o n e w h o s h o u l d g e t t h e

18   b e n e f i t o f t h e d o u b t f r o m t h i s C o u r t.

19                  A n d I k n o w t h a t i f h e g e t s t o S o u t h D a k o t a, t h e y

20   a r e g o i n g t o b e l o o k i n g f o r d e t e n t i o n, a s w e l l, t o

21   r e v i s i t i t , w h i c h I u n d e r s t a n d f r o m t h a t C o u r t o u t t h e r e.

22                  B u t j u s t t o b e c l e a r, Y o u r H o n o r, t h a t' s h o w w e

23   s e e t h e m a s d i s t i n c t i n t h e i r r o l e s, a n d w h a t w e t h i n k o f

24   t h i s i n d i v i d u a l a n d w h y h e s h o u l d b e d e t a i n e d.

25                  T h a n k y o u , Y o u r H o n o r.


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 1                  T H E C O U R T:       M s . S e y m o u r, a n y t h i n g e l s e?

 2                  M S . S E Y M O U R:      Y o u r H o n o r, I w o u l d a d d t h a t t h e r e

 3   i s n o t h i n g f r o m M r . D u l l K n i f e' s h i s t o r y s u g g e s t i n g t h a t

 4   h e ' s a v i o l e n t p e r s o n.       I see no significant criminal

 5   history at all.              A n d w h i l e M r . H u y n h p o i n ts o u t o r a r g u es

 6   that Mr. Dull Knife should not get the benefit of the

 7   d o u b t, h e d o e s h a v e t h e b e n e f i t o f a p r e s u m p t i o n o f

 8   i n n o c e n c e.

 9                  And I believe that we have a very one-sided

10   picture of what the alleged events are.                                 And I think the

11   w e i g h t o f t h e e v i d e n c e, a s o t h e r C o u r ts h a v e n o t e d, i s

12   the least important factor in determining whether release

13   i s a p p r o p r i a t e.

14                  T H E C O U R T:       T h a n k y o u , M s . S e y m o u r.

15                  And I have no quarrel with the law, and I

16   appreciate that you point that out.                              It is a statute that

17   I n e e d t o c o m p l y w i t h.         And yes, the offense itself is

18   t h e l e a s t o f t h e c o n s i d e r a t i o ns .

19                  B u t i t c a n o f t e n t i m e s b e m o d u l a t i n g o r m o d e r a t ed

20   b y t h e v i r t u e o f t h e n a t u r e o f t h e o f f e n s e i t s e l f.        And

21   there is alleged a significant amount of violent behavior

22   in this instance that gives me a good deal of pause

23   for -- but whether there can be conditions that would

24   e n s u r e t h e s a f e t y o f t h e c o m m u n i t y g o i n g f o r w a r d.

25                  F u r t h e r, b a s e d o n t h e f a c t t h a t h e w i l l b e g o i n g


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 1   back to South Dakota for further prosecution of this

 2   c a s e, I w i l l f r a n k l y l e a v e i t t o t h e D i s t r i c t C o u r t i n

 3   South Dakota to determine whether it may find that there

 4   are conditions or combination of conditions that would

 5   ensure the safety of the community or eliminate the

 6   c o n c e r n f o r f l i g h t.

 7                  Based on the information I have in front of me, I

 8   am not convinced that there are those conditions present

 9   to ensure his safe return to South Dakota if I were to

10   r e l e a s e h i m t o d a y.     A n d f o r t h a t m a t t e r, a l s o t h e

11   overriding concern that I have about the safety of the

12   c o m m u n i t y.

13                  I will order detention without prejudice so that

14   the matter can be considered again with new information

15   o n c e M r . D u l l K n i f e r e t u r n s t o S o u t h D a k o t a.

16                  Anything else that we need to address with this

17   c a s e, M r . H u y n h?

18                  M R . H U Y N H:       N o , Y o u r H o n o r.    I believe the

19   defense has already waived all the other proceeding

20   m a t t e r s i n t h i s c a s e.

21                  T H E C O U R T:       A n y t h i n g e l s e, M s . S e y m o u r?

22                  M S . S E Y M O U R:      N o t h i n g f u r t h e r, Y o u r H o n o r.   Thank

23   y o u , J u d g e.

24                  T H E C O U R T:       Thank you.

25          ///


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 1                                   (Proceedings concluded at

 2                                     2 : 1 6 p . m .)

 3         STATE OF OREGON               )

 4                                      )ss

 5        C O U N T Y O F Y A M H I L L)

 6

 7                       I , D e b o r a h L . C o o k, R P R , C e r t i f i e d S h o r t h a n d

 8   R e p o r t e r i n a n d f o r t h e S t a t e o f O r e g o n, h e r e b y c e r t i f y

 9   that at said time and place I reported in stenotype all

10   testimony adduced and other oral proceedings had in the

11   f o r e g o i n g h e a r i n g; t h a t t h e r e a f t e r m y n o t e s w e r e

12   t r a n s c r i b e d b y c o m p u t e r- a i d e d t r a n s c r i p t i o n b y m e

13   p e r s o n a l l y; a n d t h a t t h e f o r e g o i n g t r a n s c r i p t c o n t a i n s a

14   f u l l, t r u e a n d c o r r e c t r e c o r d o f s u c h t e s t i m o n y a d d u c e d

15   a n d o t h e r o r a l p r o c e e d i n g s h a d , a n d o f t h e w h o l e t h e r e o f.

16                       W i t n e s s m y h a n d a n d s e a l a t D u n d e e, O r e g o n,

17   t h i s 2 5 t h d a y o f F e b r u a r y, 2 0 2 1.

18

19   / s / D e b o r a h L . C o o k, R P R , C S R

20   __________________________
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